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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



AMANDA PRATT,
         Plaintiff
v.
                                                   Civil Action No. 1:11-CV-11142
COMMONWEALTH OF
MASSACHUSETTS et al,
         Defendants


                        NOTICE OF VOLUNTARY DISMISSAL

       Now comes Amanda Pratt, plaintiff in the above captioned matter, pursuant to Fed. R.
Civ. P. 41(a)(1)(A)(ii), and dismisses without prejudice the above entitled action as to the
Commonwealth of Massachusetts, defendant herein.

                                                   Respectfully submitted,
                                                   AMANDA PRATT,
                                                   By her attorney,


                                                   /s/ Edward A. McNaught
                                                   Edward A. McNaught III, BBO # 672024
                                                   Edward A. McNaught III, Attorney at Law
                                                   1 Webb Street
                                                   Danvers, MA 01923
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Dated: December 14, 2011




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                                 CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants.

                                                      /s/ Edward A. McNaught III
                                                      Edward A. McNaught III




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